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     RACHEL LEIGH MAYNARD, et al.
8
9                       UNITED STATES DISTRICT COURT
10                   NORTHERN DISTRICT OF CALIFORNIA
11
12
13    RACHEL LEIGH MAYNARD individually ) CASE NO.
      and as successor in interest to JEFFREY )
14    STODDARD and JACOB BRADLEY              )
      STODDARD,                               ) COMPLAINT FOR DAMAGES
15                                            )
                                              )    1. NEGLIGENCE
16                   Plaintiffs,              )    2. BREACH OF EXPRESS
                                              )       AND IMPLIED
17                                            )       WARRANTIES
      vs.
                                              )    3. STRICT LIABILITY
18                                            )    4. PREMISES LIABILITY
                                              )    5. MARITIME NEGLIGENCE
19   AIR & LIQUID SYSTEMS                     )    6. MARITIME STRICT
     CORPORATION, BUFFALO PUMPS               )       LIABILITY
20   DIVISION;                                )    7. SURVIVAL
     ELECTROLUX HOME PRODUCTS,                )
21   INC, SII COPES-VULCAN;                   ) (Asbestos – Wrongful Death)
     FLOWSERVE US INC;                        )
22   FOSTER WHEELER LLC;                      )
     GARDNER DENVER, INC.;                    ) DEMAND FOR JURY TRIAL
23   GENERAL ELECTRIC COMPANY;                )
     GREENE TWEED & CO. INC.;                 )
24   PARAMOUNT GLOBAL F/K/A                   )
     VIACOMCBS INC., F/K/A CBS                )
25   CORPORATION, A DELAWARE                  )
     CORPORATION, F/K/A VIACOM INC.,          )
26   SUCCESSOR BY MERGER TO CBS               )
     CORPORATION, A PENNSYLVANIA              )
27   CORPORATION, F/K/A                       )
     WESTINGHOUSE ELECTRIC                    )
28   CORPORATION;                             )
     STERLING FLUID SYSTEMS ISA, LLC          )
     FKA PEERLESS PUMPS;                      )
                                          1
                       STODDARD FEDERAL COMPLAINT FOR DAMAGES
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1 VELAN VALVE CORP.;                                  )
  WARREN PUMPS, LLC;                                  )
2 AND THE FIRST DOE THROUGH FOUR                      )
  HUNDREDTH DOE; INCLUSIVE,                           )
3                                                     )
                                                      )
4                      Defendants.                    )
                                                      )
5    ___________________________________
6
                                                 PARTIES
7
     1.      The Plaintiffs in this matter are the heirs of the deceased, JEFFEREY
8
9            STODDARD,
10
             herein referred to as “Decedent.”
11
12           RACHEL LEIGH MAYNARD                            DAUGHTER OF DECEDENT
13           JACOB BRADLEY STODDARD                          SON OF DECEDENT
14
             The Plaintiffs in this matter shall herein be referred to as “Plaintiffs.”
15
16   2.      Decedent JEFFREY STODDARD suffered from mesothelioma; an always
17
             fatal form of cancer only caused by exposure to asbestos. Decedent
18
19           JEFFREY STODDARD was diagnosed with malignant pleural
20           mesothelioma on December 12, 2023, and passed away from malignant
21
             pleural mesothelioma on January 5, 2024.
22
23   3.      Plaintiffs are informed and believe, and thereon allege that mesothelioma is
24
             a progressive lung disease, cancer and other serious diseases are caused by
25
26           inhalation of asbestos fibers without immediate perceptible trauma, and that

27           said diseases resulting from exposure to asbestos develop over a period of
28
             time.

                                              2
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1
     4.      The true names and capacities, whether individual, corporate, associate,
2
             governmental or otherwise, of defendant FIRST DOE through FOUR
3
4            HUNDREDTH DOE, inclusive, are unknown to Plaintiffs at this time, who
5
             therefore sue said defendants by such fictitious names. When the true names
6
7            and capacities of said defendants have been ascertained, Plaintiffs will
8            amend this complaint accordingly. Plaintiffs are informed and believe, and
9
             thereon alleges, that each defendant designated herein as a DOE is
10
11           responsible, negligently or in some other actionable manner, for the events
12
             and happenings hereinafter referred to, and caused injuries and damages
13
14           proximately thereby to the Decedent, as hereinafter alleged.
15   5.      Plaintiffs are informed and believe, and allege, that at all times herein
16
             mentioned defendant FIRST DOE through FOUR HUNDREDTH DOE,
17
18           inclusive, were and are authorized to do business in the State of California,
19
             and that said defendants have regularly conducted business in the County of
20
21           San Francisco, State of California.

22   6.      Plaintiffs are informed and believe, and thereon allege that at all times herein
23
             mentioned, each defendant named herein and FIRST DOE through FOUR
24
25           HUNDREDTH DOE, inclusive, were and are corporations organized and
26
             existing under and by virtue of the laws of the State of California, or the
27
28
             laws of some other state or foreign jurisdiction, and that said defendants, and

             each of them, were and are authorized to do and are doing business in the
                                              3
                           STODDARD FEDERAL COMPLAINT FOR DAMAGES
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1
             State of California, and that said defendants have regularly conducted
2
             business in the County of San Francisco, State of California.
3
4    7.      At all times herein mentioned, each of the defendants named herein,
5
             including defendants FIRST DOE through FOUR HUNDREDTH DOE,
6
7            except as otherwise alleged, was the agent, servant, employee and/or joint
8            venturer of co-defendants, and each of them, and at all said times, each
9
             defendant was acting in the full course and scope of said agency, service,
10
11           employment and/or joint venture. Certain defendants agreed and conspired
12
             among themselves and with certain other individuals and/or entities, to act,
13
14           or not to act, in such a manner that resulted in injury to the Decedent
15           JEFFEREY STODDARD; and such defendants, as co-conspirators, are
16
             liable for the acts, or failures to act, of other conspiring defendants.
17
18   8.      Plaintiff is informed and believes, and thereon alleges, that at all times
19
             herein mentioned, defendants, hereinafter referred to as DEFENDANTS:
20
21           AIR & LIQUID SYSTEMS CORPORATION, BUFFALO PUMPS

22           DIVISION;
23
             ELECTROLUX HOME PRODUCTS, INC, SII COPES-VULCAN;
24
25           FLOWSERVE US INC;
26
             FOSTER WHEELER LLC;
27
28
             GARDNER DENVER, INC.;

             GENERAL ELECTRIC COMPANY;
                                              4
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1
             GREENE TWEED & CO. INC.;
2
             PARAMOUNT GLOBAL F/K/A VIACOMCBS INC., F/K/A CBS
3
4            CORPORATION, A DELAWARE CORPORATION, F/K/A VIACOM
5
             INC., SUCCESSOR BY MERGER TO CBS CORPORATION, A
6
7            PENNSYLVANIA            CORPORATION,            F/K/A       WESTINGHOUSE
8            ELECTRIC CORPORATION;
9
             STERLING FLUID SYSTEMS ISA, LLC FKA PEERLESS PUMPS;
10
11           VELAN VALVE CORP.;
12
             WARREN PUMPS, LLC;
13
14           and ONE HUNDREDTH through THREE HUNDRETH DOE, inclusive,
15           are corporations organized and existing under and by virtue of the laws of
16
             the State of California, or the laws of some state or foreign jurisdiction, and
17
18           that said defendants were and are authorized to do and are doing business in
19
             the State of California, and that said defendants have regularly conducted
20
21           business in the City and County of San Francisco, State of California. The

22           defendants identified in this paragraph are hereinafter referred to
23
             “DEFENDANTS”.
24
25   9.      Plaintiff is informed and believes, and thereon alleges, that at all times
26
             herein mentioned, defendants:
27
28
             GENERAL ELECTRIC COMPANY;

             PARAMOUNT GLOBAL F/K/A VIACOMCBS INC., F/K/A CBS
                                              5
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1
           CORPORATION, A DELAWARE CORPORATION, F/K/A VIACOM
2
           INC., SUCCESSOR BY MERGER TO CBS CORPORATION, A
3
4          PENNSYLVANIA CORPORATION, F/K/A WESTINGHOUSE
5
           ELECTRIC CORPORATION;
6
7          and THREE HUNDREDTH through FOUR HUNDRETH DOE, inclusive,
8          are corporations organized and existing under and by virtue of the laws of
9
           the State of California, or the laws of some state or foreign jurisdiction, and
10
11         that said defendants were and are authorized to do and are doing business in
12
           the State of California, and that said defendants have regularly conducted
13
14         business in the City and County of San Francisco, State of California. The
15         defendants identified in this paragraph are hereinafter referred to
16
           “CONTRACTOR/PREMISES DEFENDANTS.”
17
18   10.   At all times herein mentioned, the named DEFENDANTS, and ONE
19
           HUNDREDTH through FOUR HUNDRETH DOE, was the successor,
20
21         successor in business, successor in product line or a portion thereof, assign,

22         predecessor, predecessor in business, predecessor in product line or a
23
           portion thereof, parent, holding company, affiliate, venturer, co-venturer,
24
25         subsidiary, wholly or partially owned by, or the whole or partial owner of or
26
           member in an entity researching, studying, manufacturing, fabricating,
27
28
           designing, modifying, failing to retrofit, labeling, assembling, distributing,

           leasing, buying, offering for sale, supplying, selling, inspecting, testing,
                                            6
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1
        authorizing, approving, certifying, facilitating, promoting, representing,
2
        endorsing servicing, installing, contracting for installation, repairing,
3
4       marketing, warranting, rebranding, manufacturing for others, packaging,
5
        specifying, requiring, mandating, or otherwise directing and/or facilitating
6
7       the use of, or advertising a certain product, namely asbestos, and/or other
8       products containing asbestos. Said entities shall hereinafter be referred to as
9
        “alternate entities.” Each of the herein named DEFENDANTS is liable for
10
11      the tortious conduct of each successor, successor in business, successor in
12
        product line or a portion thereof, assign, predecessor in product line or a
13
14      portion thereof, parent, holding company, affiliate, venturer, co-venturer,
15      subsidiary, whole or partial owner, or wholly or partially owned entity, or
16
        entity that it was a member of, or funded, that researched, studied,
17
18      manufactured, fabricated, designed, modified, failed to retrofit, labeled,
19
        assembled, distributed, leased, bought, offered for sale, supplied, sold,
20
21      inspected, serviced, installed, contracted for installation, repaired, marketed,

22      warranted, rebranded, manufactured for others and advertised a certain
23
        product, namely asbestos, and other products containing asbestos. The
24
25      defendants, and each of them, are liable for the acts of each and every
26
        alternate entity, and each of them, in that there has been a virtual destruction
27
28
        of Plaintiffs' remedy against each such alternate entity; DEFENDANTS,

        and each of them, have acquired the assets, product line, or a portion
                                         7
                      STODDARD FEDERAL COMPLAINT FOR DAMAGES
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1
           thereof, of each such alternate entity; defendants, and each of them, caused
2
           the destruction of Plaintiffs' remedy against each such alternate entity; each
3
4          such DEFENDANT has the ability to assume the risk-spreading role of each
5
           such alternate entity; and that each such DEFENDANT enjoys the goodwill
6
7          originally attached to each such alternate entity.
8                                 VENUE AND JURISDICTION
9
     11.   Jurisdiction: Decedent JEFFREY STODDARD was a citizen of the State
10
11         of California, at the time of the injury.
12
     12.   DEFENDANTS are each corporation and are incorporated under the laws of
13
14         and having their principal places of business in the following States:
15               AIR & LIQUID                    Delaware
16               SYSTEMS, INC.,
                 SUCCESSOR-BY-
17
                 MERGER TO BUFFALO
18               PUMPS
19
                 ELECTROLUX HOME                 North Carolina
20               PRODUCTS, INC, SII
21               COPES-VULCAN
                 FLOWSERVE US INC                Texas
22
23               FOSTER WHEELER LLC Texas
24              GARDNER DENVER,                  Wisconsin
                INC.;
25
26               GENERAL ELECTRIC                New York;
27               COMPANY                         Massachusetts

28               GREENE TWEED & CO., Pennsylvania
                 INC.
                                            8
                         STODDARD FEDERAL COMPLAINT FOR DAMAGES
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1
                 PARAMOUNT GLOBAL               Delaware; New York
2                F/K/A VIACOMCBS
3
                 INC., F/K/A CBS
                 CORPORATION, A
4                DELAWARE
5                CORPORATION, F/K/A
                 VIACOM INC.,
6                SUCCESSOR BY
7                MERGER TO CBS
                 CORPORATION, A
8
                 PENNSYLVANIA
9                CORPORATION, F/K/A
                 WESTINGHOUSE
10
                 ELECTRIC
11               CORPORATION
12
                 STERLING FLUID       Indiana
13               SYSTEMS ISA, LLC FKA
14               PEERLESS PUMPS
                 VELAN VALVES         Vermont
15
                 WARREN PUMPS LLC     Delaware
16
17
18
19
     13.   This Court has original jurisdiction under 28 U.S.C. § 1332, in that it is a
20
21         civil action between citizens of different states in which the matter in
22
           controversy exceeds, exclusive of costs and interest, seventy-five thousand
23
           dollars.
24
25   14.   This case is of Admiralty and Maritime Jurisdiction and is a claim within the
26
           meaning of F.R.C.P. 9(h). The locations of Plaintiff JEFFREY
27
28         STODDARD’S exposures were on navigable waters, and his exposure

           occurred in connection with traditional maritime activity, as specified herein.
                                            9
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1
           The “saving to suitors” clause of 28 U.S.C. Section 1333 allows Plaintiffs to
2
           pursue State claims in addition to Plaintiffs’ maritime claims.
3
4    15.   Venue / Intradistrict Assignment: Venue is proper in the Northern District
5
           of California and assignment to the San Francisco Division of said district is
6
7          proper as were and are corporations organized and existing under and by
8          virtue of the laws of the State of California, or the laws of some other state
9
           or foreign jurisdiction, and that said defendants, and each of them, were and
10
11         are authorized to do and are doing business in the State of California, and
12
           that said defendants have regularly conducted business in the County of San
13
14         Francisco, State of California, and Defendants are subject to personal
15         jurisdiction in this district at the time the action is commenced.
16
                               FIRST CAUSE OF ACTION
17
18                                     NEGLIGENCE
19
             (ALL DEFENDANTS, their alternate entities, and DOES 1-400)
20
21   16.   Plaintiffs re-allege and incorporate herein by reference, as though fully set

22         forth at length herein, each of the preceding paragraphs.
23
     17.   At all times herein mentioned, DEFENDANTS, were and are engaged in
24
25         the business of researching, manufacturing, fabricating, designing,
26
           modifying, failing to retrofit, labeling, assembling, distributing, leasing,
27
28
           buying, offering for sale, supplying, selling, inspecting, endorsing, testing,

           authorizing, approving, certifying, facilitating, promoting, representing,
                                           10
                         STODDARD FEDERAL COMPLAINT FOR DAMAGES
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1
           servicing, installing, contracting for installation, repairing, marketing,
2
           warranting, rebranding, manufacturing for others, packaging, specifying,
3
4          requiring, mandating, or otherwise directing and/or facilitating the use of, or
5
           advertising a certain product, namely asbestos and other products containing
6
7          asbestos.
8    18.   At all times herein mentioned, DEFENDANTS, singularly and jointly,
9
           negligently, and carelessly researched, manufactured, fabricated, designed,
10
11         modified, failed to retrofit, tested or failed to test, abated or failed to abate,
12
           warned or failed to warn of the health hazards, labeled, assembled,
13
14         distributed, leased, bought, offered for sale, supplied, sold, inspected,
15         serviced, authorized, approved, certified, facilitated, promoted, installed,
16
           represented, endorsed, contracted for installation of, repaired, marketed,
17
18         warranted, rebranded, manufactured for others, packaged and advertised, a
19
           certain product, namely asbestos, and other products containing asbestos, in
20
21         that said products caused personal injuries to users, consumers, workers,

22         bystanders and others, including the Decedent herein, (hereinafter
23
           collectively called “exposed persons”), while being used in a manner that
24
25         was reasonably foreseeable, thereby rendering said products hazardous,
26
           unsafe and dangerous for use by “exposed persons.”
27
28


                                           11
                         STODDARD FEDERAL COMPLAINT FOR DAMAGES
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1
     19.   DEFENDANTS, and each of them, had a duty to exercise due care in the
2
           pursuance of the activities mentioned above and defendants, and each of
3
4          them, breached said duty of due care.
5
     20.   DEFENDANTS, knew, or should have known, and intended that the
6
7          aforementioned asbestos and products containing asbestos and related
8          products and equipment, would be transported by truck, rail, ship, and other
9
           common carriers, that in the shipping process the products would break,
10
11         crumble, or be otherwise damaged; and/or that such products would be used
12
           for insulation, construction, plastering, fireproofing, soundproofing,
13
14         automotive, aircraft and/or other applications, including, but not limited to
15         unpacking, preparing, using, sawing, drilling, chipping, hammering,
16
           scraping, sanding, breaking, removing, maintaining, inspecting, “rip-out,”
17
18         and other manipulation, resulting in the release of airborne asbestos fibers,
19
           and that through such foreseeable use and/or handling “exposed persons,”
20
21         including Decedent herein, would use or be in proximity to and exposed to

22         said asbestos fibers, which contaminated the packaging, products,
23
           environment, and clothing of persons working in proximity to said products,
24
25         directly or through re-entrainment.
26
     21.   Decedent JEFFREY STODDARD has used, handled, or been otherwise
27
28
           exposed to asbestos and asbestos-containing products referred to herein in a

           manner    that   was    reasonably       foreseeable.    Decedent    JEFFREY
                                          12
                        STODDARD FEDERAL COMPLAINT FOR DAMAGES
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1
           STODDARD’S exposure to asbestos and asbestos-containing products by
2
           fault of the defendants occurred at various locations within the state of
3
4          California including, but not limited to when Decedent JEFFREY
5
           STODDARD served in the United States Navy from January 1974, through
6
7          September 1975. He completed basic training at San Diego Naval Training
8          Center (USNTCSD) before he was assigned to and served on USS BARRY
9
           (DD-933) as fireman’s apprentice (FA) and boiler technician (BT) in the
10
11         engine and boiler rooms from April 1974 through his discharge in
12
           September 1975. Decedent was also present standing firewatch on the
13
14         BARRY during overhauls and repairs at Philadelphia Naval Shipyard.
15         Decedent was responsible for maintaining, inspecting, operating boilers and
16
           propulsion and other equipment in the engine room of USS BARRY.
17
18   22.   As a direct and proximate result of the acts, omissions, and conduct of the
19
           DEFENDANTS, as aforesaid, Decedent’s exposure to asbestos and
20
21         asbestos-containing products caused severe and permanent injury, damage,

22         loss, or harm to the Plaintiffs as set forth herein, namely the death of their
23
           father due to exposure to asbestos.
24
25   23.   Plaintiffs are informed and believe, and thereon allege, that mesothelioma,
26
           progressive lung disease, cancer, and other serious diseases are caused by
27
28
           inhalation or ingestion of asbestos fibers without perceptible trauma and


                                           13
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1
           that said injury, damage, loss, or harm results from exposure to asbestos and
2
           asbestos-containing products over a period of time.
3
4    24.   Decedent JEFFREY STODDARD suffered and died from mesothelioma
5
           related to his exposure to asbestos and asbestos-containing products.
6
7          Decedent was not aware at the time of exposure that asbestos or asbestos-
8          containing products presented risk of injury and/or disease.
9
     25.   As a direct and proximate result of the aforesaid conduct of
10
11         DEFENDANTS, Decedent, suffered from a medical condition known as
12
           mesothelioma a lung disease related to the exposure to asbestos. Decedent
13
14         was not aware that exposure to asbestos presented any risk of injury and/or
15         disease to her and had not been advised or informed by anyone that he could
16
           contract any disease, sickness or injury as a result of working in the vicinity
17
18         of asbestos.
19
     26.   As a direct and proximate result of the aforesaid conduct of
20
21         DEFENDANTS, as aforesaid, the exposure to asbestos caused severe and

22         permanent malignant injuries to Decedent, including, but not limited to,
23
           mesothelioma, lung damage and his ultimate death, all to his general
24
25         damages in a sum invoking the unlimited jurisdiction of the Court.
26
     27.   As a result of the conduct of DEFENDANTS, and each of them, decedent's
27
28
           heirs have sustained pecuniary loss resulting from the loss of love, comfort,

           society, attention, services and support of Decedent in a sum in invoking
                                            14
                          STODDARD FEDERAL COMPLAINT FOR DAMAGES
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1
           the unlimited jurisdictional limits of the Court.
2
     28.   As a further result of the conduct of DEFENDANTS, and the death of
3
4          decedent, Plaintiffs herein have incurred funeral and burial expenses in an
5
           amount to be subsequently ascertained.
6
7    29.   As a further result of the conduct of DEFENDANTS, Plaintiffs have
8          incurred liability for physicians, surgeons, nurses, hospital care, medicine,
9
           hospitals, x rays and other medical treatment, the true and exact amount
10
11         thereof being unknown to Plaintiffs at this time, and Plaintiffs pray leave to
12
           amend this Complaint accordingly when the true and exact cost thereof is
13
14         ascertained.
15   30.   DEFENDANTS, and their officers, directors and managing agents
16
           participated in, authorized, expressly and impliedly ratified, and had full
17
18         knowledge of, or should have known of, each of the acts set forth herein.
19
     31.   DEFENDANTS are liable for the fraudulent, oppressive, and malicious acts
20
21         of their alternate entities, and each of them, and each Defendant’s officers,

22         directors and managing agents participated in, authorized, expressly and
23
           impliedly ratified, and had full knowledge of, or should have known of, the
24
25         acts of each of their alternate entities as set forth herein.
26
     32.   The herein-described conduct of DEFENDANTS, their alternate entities,
27
28
           and each of them, was and is willful, malicious, fraudulent, outrageous, and

           in conscious disregard and indifference to the safety and health of “exposed
                                            15
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1
           persons.” Plaintiff, for the sake of example and by way of punishing said
2
           Defendants, seeks punitive damages according to proof against each
3
4          Defendant.
5
           WHEREFORE, Plaintiffs pray judgment against DEFENDANTS, their
6
7    alternate entities, and each of them, as hereinafter set forth.
8
9
                               SECOND CAUSE OF ACTION
10
11              BREACH OF EXPRESS AND IMPLIED WARRANTIES
12
              (ALL DEFENDANTS, their alternate entities, and DOES 1-400)
13
14   33.   Plaintiffs re-allege and incorporate herein by reference, as though fully set
15         forth at length herein, each of the preceding paragraphs.
16
     34.   DEFENDANTS and DOES 1 through 400, and each of them, inclusive,
17
18         sold and/or otherwise supplied the asbestos containing products, materials,
19
           and equipment to Decedent JEFFREY STODDARD and/or his employers.
20
21   35.   That in connection with the manufacture, preparation, sale, specification,

22         installation, use, and supply of asbestos products, DEFENDANTS,
23
           expressly and impliedly warranted that said products were of good and
24
25         merchantable quality and fit for their intended use. However, in truth and in
26
           fact, said products contained harmful and deleterious asbestos fibers, known
27
28
           to the DEFENDANTS herein, to be defective and harmful to humans

           exposed thereto.
                                            16
                          STODDARD FEDERAL COMPLAINT FOR DAMAGES
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1
     36.   Said products were not and are not suitable for the purposes for which said
2
           products were intended, supplied, and relied upon, nor suitable for any other
3
4          similar purpose, including their use by human beings in confined spaces
5
           where humans would be physically present, working, resting, or breathing.
6
7    37.   Decedent JEFFREY STODDARD relied on the express and implied
8          warranties of DEFENDANTS, in the use of and exposure to said asbestos
9
           and asbestos products, and Decedent JEFFREY STODDARD was using
10
11         and/or exposed to said asbestos in a reasonably foreseeable intended
12
           manner.
13
14   38.   DEFENDANTS breached the above-described express and implied
15         warranties in that said substance was defective, which defects permitted
16
           and/or caused said substance to seriously and permanently cause injury to
17
18         Decedent while using said substance in a manner that was reasonably
19
           foreseeable.
20
21   39.   The breaches of warranties by the DEFENDANTS, and each of them, as

22         described in this cause of action was a substantial factor and a legal cause of
23
           the injuries and damages sustained by Plaintiffs due to the death of
24
25         Decedent.
26
     40.   As a direct and proximate result of the above-described breaches of
27
28
           warranties by said DEFENDANTS, Decedent JEFFREY STODDARD


                                            17
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1
           suffered and died from mesothelioma, and suffered damages as alleged
2
           above.
3
4    41.   In particular, Plaintiffs will show that, as alleged here in this cause of action
5
           and throughout this complaint, that such intentional, grossly wanton acts
6
7          and omissions by said DEFENDANTS, and their officers, directors, and
8          managing agents, inclusive, were substantial factors in, and participated in,
9
           authorized, expressly and impliedly ratified, and had full knowledge of or
10
11         should have known, each of the acts set forth here causing Decedent’s
12
           disease and injuries. As the above referenced conduct complained of in this
13
14         complaint of said DEFENDANTS, and their officers, directors, and
15         managing agents, inclusive, was and is vile, base, willful, malicious,
16
           fraudulent, oppressive, and outrageous; and said DEFENDANTS,
17
18         demonstrated such an entire want of care as to establish that their acts and
19
           omissions were the result of actual conscious indifference to the rights,
20
21         safety, and welfare of Decedent and of workers exposed to asbestos and

22         asbestos products, such that, Plaintiffs, for the sake of example, and by way
23
           of punishing said Defendants, seek punitive damages according to proof.
24
25                             THIRD CAUSE OF ACTION
26
                                   STRICT LIABILITY
27
28
             (ALL DEFENDANTS, their alternate entities, and DOES 1-400)


                                           18
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1
     42.   Plaintiffs re-allege and incorporate herein by reference, as though fully set
2
           forth at length herein, each of the preceding paragraphs.
3
4    43.   At all times mentioned herein, the DEFENDANTS, manufactured,
5
           fabricated, designed, developed, labeled, assembled, distributed, supplied,
6
7          leased, bought, offered for sale, sold, inspected, serviced, repaired, installed,
8          demolished, contracted for installation, contracted others to install, repaired,
9
           marketed, warranted, rebranded, manufactured for others, packaged and
10
11         advertised asbestos and/or products containing asbestos and/or products
12
           which created an asbestos hazard, and/or safety equipment intended to block
13
14         the entry of asbestos fibers, and that asbestos and/or products containing
15         asbestos and/or products which created an asbestos hazard and/or safety
16
           equipment intended to block the entry of asbestos fibers were defective in
17
18         that they were not as safe as an ordinary consumer of such products would
19
           expect; and that the gravity of the potential harm resulting from the use of
20
21         the defective products of the DEFENDANTS, and the risk of said asbestos

22         and asbestos-containing products outweighed any benefit of the said
23
           DEFENDANTS’ design, when safer alternative designs and materials
24
25         existed and were available that could and should have been substituted and
26
           used instead of the deadly asbestos, including providing adequate warning
27
28
           of such potential harm.


                                           19
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1
     44.   At all times mentioned herein, the DEFENDANTS, were aware of the
2
           dangerous and defective nature of asbestos and asbestos-containing
3
4          products when they were used in their intended or reasonably foreseeable
5
           manner.
6
7    45.   The DEFENDANTS, placed said asbestos products on the market, knowing
8          the asbestos-containing products would be used without inspection for such
9
           defects and unsafe conditions, and that said DEFENDANTS nonetheless
10
11         took no action to warn or otherwise protect “exposed persons,” including
12
           Decedent JEFFREY STODDARD, who foreseeably would be exposed to
13
14         these defective and inadequately labeled asbestos and asbestos-containing
15         products.
16
     46.   The asbestos and asbestos-containing products, components, and assemblies
17
18         of the DEFENDANTS, were substantially the same as when they left said
19
           DEFENDANTS’ possession.
20
21   47.   The aforementioned asbestos and asbestos-containing products of the

22         DEFENDANTS were used by Decedent and “exposed persons” in the
23
           manner for which they were intended or in a manner that was or would be
24
25         reasonably foreseeable, and Decedent was exposed to said asbestos and
26
           asbestos-containing   products   in    a   manner      foreseeable     to   said
27
28
           DEFENDANTS.


                                          20
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1
     48.   The dangers inherent in breathing asbestos-containing dust and the dangers
2
           inherent in asbestos-containing products, components, and assemblies were
3
4          unknown and unforeseeable to Decedent, and Decedent had not been
5
           advised or informed by anyone that he could contract any disease, sickness,
6
7          or injury as a result of working in the vicinity of asbestos.
8    49.   The failure to warn by DEFENDANTS, and the product defect in the
9
           asbestos and asbestos-containing products of Defendants, and each of them,
10
11         were substantial factors and a legal cause of Decedent’s injuries, death and
12
           damages thereby sustained by Plaintiffs, and that said DEFENDANTS
13
14         demonstrated such an entire want of care as to establish that their acts and
15         omissions were the result of actual conscious indifference to the rights,
16
           safety, and welfare of Decedent, and that such intentional acts and
17
18         omissions were substantial factors in causing his disease and death.
19
     50.   As a direct and proximate result of the aforesaid conduct of said
20
21         DEFENDANTS, and each of them, Decedent suffered severe and

22         permanent injuries to his person, and Plaintiffs suffered damages as alleged
23
           above.
24
25   51.   In particular, Plaintiffs would show that, as alleged here in this cause of
26
           action and throughout this complaint, that such intentional, grossly wanton
27
28
           acts and omissions by said DEFENDANTS, and each of them, and their

           officers, directors, and managing agents, inclusive, were substantial factors
                                           21
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1
           in, and participated in, authorized, expressly and impliedly ratified, and had
2
           full knowledge of or should have known, each of the acts set forth here
3
4          causing Decedent’s mesothelioma and death.         As the above referenced
5
           conduct complained of in this complaint of said DEFENDANTS, and each
6
7          of them, and their officers, directors, and managing agents, inclusive, was
8          and is vile, base, willful, malicious, fraudulent, oppressive, and outrageous,
9
           and said DEFENDANTS, and each of them, demonstrated such an entire
10
11         want of care as to establish that their acts and omissions were the result of
12
           actual conscious indifference to the rights, safety, and welfare of Decedent
13
14         and of workers exposed to asbestos and asbestos products, such that,
15         Plaintiffs, for the sake of example, and by way of punishing said defendants,
16
           seek punitive damages according to proof.
17
18                           FOURTH CAUSE OF ACTION
19
                                 PREMISES LIABILITY
20
21         (PREMISES OWNER/CONTRACTOR LIABILITY DEFENDANTS, and

22                                    DOES 300-400)
23
     52.   Plaintiffs reallege and incorporate herein by reference each of the
24
25         proceeding paragraphs of this Complaint.
26
     53.   At all times mentioned herein, the PREMISES OWNER/CONTRACTOR
27
28
           LIABILITY DEFENDANTS, and each of them, respectively, owned,

           leased, maintained, managed, and/or controlled the premises listed where
                                           22
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1
           was present. The information provided is preliminary, based on recall over
2
           events covering many years and further investigation and discovery may
3
4          produce more reliable information. Additionally, Decedent might have
5
           been present at these or other PREMISES OWNER/CONTRACTOR
6
7          LIABILITY DEFENDANTS’ premises at other locations and on other
8          occasions.
9
     54.   Prior to and at said times and places, said PREMISES
10
11         OWNER/CONTRACTOR LIABILITY DEFENDANTS, and each of them,
12
           respectively, caused certain asbestos-containing insulation, other building
13
14         materials, products and toxic substances to be constructed, installed,
15         maintained, used, supplied, replaced, repaired and/or removed on each of
16
           the aforesaid respective premises, by their own workers and/or by various
17
18         contractors, and caused the release of dangerous quantities of toxic asbestos
19
           fibers and other toxic substances into the ambient air and thereby created a
20
21         hazardous and unsafe condition to Decedent and other persons exposed to

22         said asbestos fibers and toxic substances while present at said premises.
23
     55.   At all times mentioned herein, said PREMISES OWNER/CONTRACTOR
24
25         LIABILITY DEFENDANTS, and each of them, knew or in the exercise of
26
           ordinary and reasonable care should have known, that the foregoing
27
28
           conditions and activities created a dangerous, hazardous, and unsafe

           condition and unreasonable risk of harm and personal injury to Decedent
                                           23
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1
           and other workers or persons so exposed present on each of the aforesaid
2
           respective premises.
3
4    56.   At all times relevant herein, Decedent entered said premises and used or
5
           occupied each of said respective premises as intended and for each of the
6
7          respective PREMISES OWNER/CONTRACTOR LIABILITY
8          DEFENDANTS’ request and invitation. In so doing, Decedent was
9
           exposed to dangerous quantities of asbestos fibers and other toxic
10
11         substances released into the ambient air by the aforesaid hazardous
12
           conditions and activities managed, maintained, initiated, and/or otherwise
13
14         created, controlled, or caused by said PREMISES
15         OWNER/CONTRACTOR LIABILITY DEFENDANTS, and each of them.
16
     57.   Decedent at all times was unaware of the hazardous condition or the risk of
17
18         personal injury created by the aforesaid presence and use of asbestos
19
           products and materials and other toxic substances on said premises.
20
21   58.   At all times mentioned herein, said PREMISES OWNER/CONTRACTOR

22         LIABILITY DEFENDANTS, and each of them, remained in control of the
23
           premises where Decedent was performing his work.
24
25   59.   At all times mentioned herein, the PREMISES OWNER/CONTRACTOR
26
           LIABILITY DEFENDANTS, owed to Decedent and others similarly
27
28
           situated a duty to exercise ordinary care in the management of such

           premises in order to avoid exposing workers such as Decedent to an
                                          24
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1
           unreasonable risk of harm and to avoid causing injury to said person.
2
     60.   At all times mentioned herein, said PREMISES OWNER/CONTRACTOR
3
4          LIABILITY DEFENDANTS, and each of them, negligently failed to
5
           maintain, manage, inspect, survey, or control said premises or to abate or
6
7          correct, or to warn Decedent of, the existence of the aforesaid dangerous
8          conditions and hazards on said premises.
9
     61.   Prior to and at the times and places aforesaid, said PREMISES
10
11         OWNER/CONTRACTOR LIABILITY DEFENDANTS, and each of them,
12
           respectively, caused certain asbestos-containing insulation, other building
13
14         materials, products and toxic substances to be constructed, installed,
15         maintained, used, replaced, repaired and/or removed on each of their
16
           aforesaid respective premises, by their own workers and/or by employing
17
18         various contractors, and caused the release of dangerous quantities of toxic
19
           asbestos fibers and other toxic substances into the ambient air and thereby
20
21         injured Decedent.

22   62.   At all times mentioned herein, said PREMISES OWNER/CONTRACTOR
23
           LIABILITY DEFENDANTS, and each of them, should have recognized
24
25         that the work of said contractors would create during the progress of the
26
           work, dangerous, hazardous, and unsafe conditions which could or would
27
28
           harm Decedent and others unless special precautions were taken.

     63.   In part, Decedent was exposed to dangerous quantities of asbestos fibers
                                           25
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1
           and other toxic substances by reason of such contractors’ failure to take
2
           necessary precautions.
3
4    64.   The work of contractors on premises controlled by the PREMISES
5
           OWNER/CONTRACTOR LIABILITY DEFENDANTS, created an unsafe
6
7          premise and an unsafe workplace by reason of the release of dangerous
8          quantities of toxic substances including but not limited to asbestos.
9
     65.   The unsafe premises or workplace was created, in part, by the negligent
10
11         conduct of the contractors employed by the PREMISES
12
           OWNER/CONTRACTOR LIABILITY DEFENDANTS. Said negligent
13
14         conduct includes but is not limited to:
15                i.      Failure to warn of asbestos and other toxic dusts;
16
                 ii.      Failure to suppress the asbestos-containing or toxic dusts;
17
18              iii.      Failure to remove the asbestos-containing and toxic dust
19
                       through the use of ventilation or appropriate means;
20
21              iv.       Failure to provide adequate breathing protection, i.e., approved

22                         respirators or masks;
23
                 v.       Failure to inspect and/or test the air;
24
25              vi.       Failure to provide medical monitoring.
26
     66.   The PREMISES OWNER/CONTRACTOR LIABILITY DEFENDANTS’
27
28
           duty to maintain and provide safe premises, a safe place to work, and to

           warn of dangerous conditions are non-delegable; said duties arise out of
                                            26
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1
           common law, Civil Code §1708, and Labor Code §6400, et seq., or Health
2
           & Safety Code §40200, et seq., and regulations promulgated thereunder.
3
4          Therefore,     the     PREMISES          OWNER/CONTRACTOR                  LIABILITY
5
           DEFENDANTS are responsible for any breach of said duties whether by
6
7          themselves or others.
8    67.   Prior   to     and     at      said    times      and    places,    said   PREMISES
9
           OWNER/CONTRACTOR LIABILITY DEFENDANTS were subject to
10
11         certain ordinances, statutes, and other government regulations promulgated
12
           by the United States Government, the State of California, and others,
13
14         including but not limited to the General Industry Safety Orders
15         promulgated pursuant to California Labor Code §6400 and the California
16
           Administrative Code under the Division of Industrial Safety, Department of
17
18         Industrial Relations, including but not limited to Title VIII, Group 9
19
           (Control of Hazardous Substances), Article 81, §§4105, 4106, 4107 and
20
21         4108, and Threshold Limit Values as documented for asbestos and other

22         toxic substances under Appendix A, Table 1 of said Safety Orders;
23
           additionally, California Health & Safety Code §40200, et seq., which
24
25         empowers the California Air Quality Management Districts to promulgate
26
           regulations covering emission standards for hazardous air pollutants. Such
27
28
           state    and         federal      standards         required       said    PREMISES

           OWNER/CONTRACTOR                      LIABILITY         DEFENDANTS,        to   provide
                                            27
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1
        specific safeguards or precautions to prevent or reduce the inhalation of
2
        asbestos dust and other toxic fumes or substances; and said PREMISES
3
4       OWNER/CONTRACTOR LIABILITY DEFENDANTS, failed to provide
5
        the       required          safeguards    and      precautions.      PREMISES
6
7       OWNER/CONTRACTOR LIABILITY DEFENDANTS’, violations of said
8       codes include but are not limited to:
9
                 i.      Failing to comply with statutes and allowing ambient levels of
10
11                    airborne asbestos fiber to exceed the permissible/allowable levels
12
                      with regard to the aforementioned statutes;
13
14              ii.      Failing to segregate work involving the release of asbestos or
15                    other toxic dusts;
16
               iii.      Failing to suppress dust using prescribed ventilation
17
18                    techniques;
19
               iv.       Failing to suppress dust using prescribed "wet down"
20
21                    techniques;

22              v.       Failing to warn or educate Plaintiff or others regarding
23
                      asbestos or other toxic substances on the premises;
24
25             vi.       Failing to provide approved respiratory protection devices;
26
              vii.       Failing to ensure "approved" respiratory protection devices
27
28
                      were used properly;

              viii.      Failing to provide for an on-going health and screening
                                            28
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1
                       program for those exposed to asbestos on the premises;
2
                 ix.      Failing to provide adequate housekeeping and clean-up of the
3
4                      workplace;
5
                  x.      Failing to properly warn of the hazards associated with
6
7                      asbestos as required by statute;
8                xi.      Failing to properly report renovation and disturbance of
9
                       asbestos-containing materials;
10
11              xii.      Failing to have an asbestos removal supervisor as required by
12
                       regulation;
13
14             xiii.      Failing to get approval for renovation as required by statutes;
15                     and
16
               xiv.       Failing to maintain records as required by statute.
17
18   68.   PREMISES OWNER/CONTRACTOR LIABILITY DEFENDANTS, and
19
           each of them, were the "statutory employer" of Decedent as defined by the
20
21         California Labor Code and California case law.

22   69.   Decedent at all times was unaware of the hazardous condition or the risk of
23
           personal     injury    created   by    PREMISES     OWNER/CONTRACTOR
24
25         LIABILITY DEFENDANTS’ violation of said regulations, ordinances or
26
           statutes.
27
28


                                               29
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1
     70.   At all times mentioned herein, Decedent was a member of the class of
2
           persons whose safety was intended to be protected by the regulations,
3
4          statutes or ordinances described in the foregoing paragraphs.
5
     71.   At all times mentioned herein, said PREMISES OWNER/CONTRACTOR
6
7          LIABILITY DEFENDANTS, and each of them, knew, or in the exercise of
8          ordinary and reasonable care should have known, that the premises that
9
           were in their control would be used without knowledge of, or inspection
10
11         for, defects or dangerous conditions, that the persons present and using said
12
           premises would not be aware of the aforesaid hazardous conditions to
13
14         which they were exposed on the premises, and that such persons were
15         unaware of the aforesaid violations of codes, regulations and statutes.
16
     72.   As a legal consequence of the foregoing, Decedent developed an asbestos-
17
18         related illness - mesothelioma, which has caused great injury and disability
19
           as previously set forth, and Plaintiffs have suffered damages as herein
20
21         alleged.      The    above-referenced     conduct      of   said   PREMISES

22         OWNER/CONTRACTOR LIABILITY DEFENDANTS was and is willful,
23
           malicious, outrageous and/or in conscious disregard and indifference to the
24
25         safety of users of said asbestos and asbestos products, including Decedent.
26
     73.   PREMISES OWNER/CONTRACTOR LIABILITY DEFENDANTS are
27
28
           guilty of oppression, fraud, or malice and engaged in conduct which was

           intended to cause injury to the Decedent or conduct which was carried on
                                           30
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1
           with a conscious disregard of the rights or safety of others. PREMISES
2
           OWNER/CONTRACTOR              LIABILITY        DEFENDANTS          subjected
3
4          Decedent to cruel and unjust hardship in conscious disregard of his rights
5
           and engaged in intentional misrepresentation, deceit, or concealment of a
6
7          material fact known to the PREMISES OWNER/CONTRACTOR
8          LIABILITY DEFENDANTS with the intention on the part of the
9
           PREMISES OWNER/CONTRACTOR LIABILITY DEFENDANTS of
10
11         thereby depriving Decedent of property or legal rights or otherwise causing
12
           injury.
13
14   74.   Plaintiffs, therefore, for the sake of example and by way of punishing
15         PREMISES OWNER/CONTRACTOR LIABILITY DEFENDANTS seek
16
           punitive damages, according to proof.
17
18                               FIFTH CAUSE OF ACTION
19
                                 MARITIME NEGLIGENCE
20
21                       (ALL DEFENDANTS AND DOES 1-400)

22   75.   Plaintiffs reallege and incorporate by reference herein each and every
23
           paragraph of this Complaint, and makes them a part of this, the fifth
24
25   76.   At all times herein mentioned, DEFENDANTS, their alternate entities, and
26
           each of them, designed, manufactured, produced, sold, supplied,
27
28
           merchandised, marketed, distributed, and/or otherwise placed into the

           stream of commerce asbestos or asbestos-containing products designed for
                                          31
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1
           maritime use and marketed and supplied for installation aboard ships.
2
           Plaintiffs’ claim against these ASBESTOS DEFENDANTS, as described in
3
4          this cause of action, arises under the general maritime and admiralty laws
5
           of the United States and within maritime and admiralty jurisdiction
6
7          pursuant to Title 28 U.S.C. § 1333(1).
8    77.   Title 46 U.S.C. § 30101, and the general admiralty and maritime law of the
9
           United States. Under these laws, the courts of the State of California have
10
11         jurisdiction over and are competent to adjudicate maritime causes of action
12
           in this proceeding as long as the Court does not attempt to make changes in
13
14         the substantive maritime law. Madruga v. Superior Court of California
15         (1954) 346 U.S. 556, 561. Although substantive law applied in the
16
           maritime claims is federal, “admiralty cases do not fall within the scope of
17
18         28 U.S.C. § 1441, which designates as appropriate for removal only those
19
           cases ‘arising under the Constitution, treaties or laws of the United States.’”
20
21         Romero v. International Terminal Operating Co. (1959) 358 U.S. 354, 368-

22         369. That is, the maritime claims alleged herein do not give rise to federal
23
           question jurisdiction.
24
25   78.   Plaintiffs’ maritime claims against defendants as set forth herein and in the
26
           Sixth Cause of Action below are limited to failure to warn of the hazards of
27
28
           asbestos exposure. The DEFENDANTS’ failure to warn renders them liable

           for negligence under maritime law and for strict liability in tort under
                                           32
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1
           maritime law. Plaintiff will not pursue any theory of maritime liability other
2
           than failure to warn against these defendants.
3
4    79.   At all times herein relevant, Decedent was engaged in the traditional
5
           maritime activity of ship repair, maintenance and/ overhaul, including but
6
7          not limited to installing, removing, repairing, altering, fabricating, using,
8          servicing, maintaining, handling, disturbing, transporting, and/or otherwise
9
           working with and coming into contact with asbestos-containing products
10
11         manufactured, sold, supplied, distributed, and/or otherwise placed into the
12
           stream of commerce by DEFENDANTS and each of them.
13
14   80.   Decedent’s work as herein alleged also placed him in the vicinity of others
15         performing traditional maritime activities of ship repair and overhaul,
16
           including but not limited to: installing, removing, repairing, altering,
17
18         fabricating,   using,   servicing,   maintaining,      handling,   disturbing,
19
           transporting, and/or otherwise working with and coming into contact with
20
21         asbestos-containing products manufactured, sold, supplied, distributed,

22         and/or otherwise placed into the stream of commerce by ASBESTOS
23
           DEFENDANTS, and each of them.
24
25   81.   The asbestos-containing products described herein, which DEFENDANTS
26
           designed, advertised, and sold for maritime use and used aboard ships, were
27
28
           products essential to the operation, navigation, function, and safety of the


                                            33
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1
           ship and to the continued existence, operation, and safety of the ship and its
2
           maritime activity.
3
4    82.   At all times herein relevant, DEFENDANTS, singularly and jointly, so
5
           negligently and carelessly researched, manufactured, fabricated, designed,
6
7          modified, tested or failed to test, abated or failed to abate the health hazards
8          of, warned or failed to warn of the health hazards of, labeled, assembled,
9
           distributed, leased, bought, offered for sale, supplied, sold, inspected,
10
11         serviced, installed, contracted for installation, repaired, marketed,
12
           warranted, rebranded, manufactured for others, packaged and/or advertised,
13
14         the asbestos-containing products described herein such that said products,
15         while being used in a manner that was reasonably foreseeable, caused
16
           injuries to Decedent and others while such persons performed ship
17
18         construction and repair activities aboard launched vessels on navigable
19
           waters of the United States.
20
21   83.   At all times mentioned herein, the DEFENDANTS, and each of them, were

22         aware of the dangerous and defective nature of asbestos and asbestos-
23
           containing products when they were used in their intended or reasonably
24
25         foreseeable manner. DEFENDANTS were under a duty to warn of the
26
           dangers of the above-mentioned activities pursuant to Air & Liquid Systems
27
28
           Corp. ET AL. v. DeVries, 873 F. 3d 232; March 19, 2019.


                                           34
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1
     84.   DEFENDANTS had a duty to exercise due care in the pursuit of the
2
           activities described in the preceding paragraph.
3
4    85.   DEFENDANTS breached said duty of due care in that defendants knew or
5
           should have known that the aforementioned asbestos-containing products
6
7          would be handled, used, repaired, installed, removed, and transported in a
8          manner that would cause the products to release airborne asbestos fibers,
9
           and that through such foreseeable use and/or handling “exposed persons,”
10
11         including Decedent herein, would be exposed to asbestos-containing dust,
12
           asbestos fibers, and/or particles.
13
14   86.   Decedent’s activities aboard launched vessels, and the maritime activities
15         of others in his vicinity, as described above, caused Decedent to inhale
16
           asbestos-containing dust, asbestos fibers, and/or particles in a manner that
17
18         was reasonably foreseeable; and to have his clothes, person, and/or
19
           belongings covered with and contaminated by asbestos dust, fibers, and/or
20
21         particles in a manner that was reasonably foreseeable; these asbestos fibers

22         were released and made airborne by the intended, ordinary, and foreseeable
23
           use of DEFENDANTS’ asbestos-containing products.
24
25   87.   As a direct and proximate result of the conduct of the DEFENDANTS as
26
           aforesaid, Decedent’s exposure to asbestos-containing products and
27
28
           inhalation of asbestos-containing dust, fibers and/or particles caused him to


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1
           suffer severe and permanent injury, including but not limited to, asbestos-
2
           related disease, lung damage, cancer, and ultimately death.
3
4    88.   As a direct and proximate result of the aforesaid conduct of the
5
           DEFENDANTS, Plaintiffs have incurred expenses for               physicians,
6
7          surgeons, nurses, hospital care, medicine, hospices, x-rays and other
8          medical treatment.
9
     89.   The failure to warn by DEFENDANTS, and the product defect in the
10
11         asbestos and asbestos-containing products of DEFENDANTS were
12
           substantial factors and a legal cause of Decedent’s injuries, death and
13
14         damages thereby sustained by Plaintiffs, and that said ASBESTOS
15         DEFENDANTS demonstrated such an entire want of care as to establish
16
           that their acts and omissions were the result of actual conscious
17
18         indifference to the rights, safety, and welfare of Decedent, and that such
19
           intentional acts and omissions were substantial factors in causing his
20
21         disease and injuries.

22   90.   DEFENDANTS’ breaches of duty under traditional maritime negligence
23
           standards, as described herein, were willful, wanton, and undertaken with
24
25         actual or constructive knowledge that serious injury would result, and/or
26
           were accomplished with such recklessness as to evince a conscious and
27
28
           callous disregard for the health, safety, and rights of “exposed persons,”


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1
           including Decedent. Plaintiffs, for the sake of example and by way of
2
           punishing said DEFENDANTS, seek punitive damages according to proof.
3
4    91.   WHEREFORE, Plaintiffs pray judgment against DEFENDANTS, and each
5
           of them, as hereafter set forth.
6
7                                 SIXTH CAUSE OF ACTION
8                              MARITIME STRICT LIABILITY
9
                         (ALL DEFENDANTS AND DOES 1-400)
10
11   92.   Plaintiffs reallege and incorporate by reference herein each and every
12
           paragraph of this Complaint, and makes them a part of this, the Sixth Cause
13
14         of Action, as though each were fully set forth herein.
15   93.   At all times herein relevant, DEFENDANTS designed, manufactured, sold,
16
           supplied, distributed, marketed, packaged, and/or otherwise placed into the
17
18         stream of maritime commerce asbestos or asbestos- containing products
19
           that were unreasonably dangerous or defective when they left
20
21         DEFENDANTS’s control in that persons using the products in an intended

22         or foreseeable manner, and persons in the vicinity of those using the
23
           products in an intended or foreseeable manner, would inhale asbestos fibers
24
25         which cause serious disease, personal injury, and death.
26
     94.   Decedent’s ship construction, maintenance, and repair activities aboard
27
28
           launched vessels on navigable waters, and such maritime activities of

           others in his vicinity, as described above, caused Decedent to inhale
                                           37
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1
           asbestos-containing dust, asbestos fibers, and/or particles in a manner that
2
           was reasonably foreseeable; and to have his clothes, person, and/or
3
4          belongings covered with and contaminated by asbestos-containing dust,
5
           asbestos fibers, and/or particles in a manner that was reasonably
6
7          foreseeable, thereby rendering the products defective, unsafe, dangerous,
8          and deadly.
9
     95.   “Exposed persons,” including Decedent, did not know of the substantial
10
11         danger of using said products. Said dangers were not readily recognizable
12
           to “exposed persons.”
13
14   96.   At all times mentioned herein, the DEFENDANTS, and each of them, were
15         aware of the dangerous and defective nature of asbestos and asbestos-
16
           containing products when they were used in their intended or reasonably
17
18         foreseeable manner. ASBESTOS DEFENDANTS were under a duty to
19
           warn of the dangers of the above-mentioned activities pursuant to Air &
20
21         Liquid Systems Corp. et al. v. DeVries, 873 F. 3d 232; March 19, 2019.

22   97.   DEFENDANTS failed to adequately warn Decedent and others similarly
23
           situated of the risks that their asbestos-containing products created.
24
25   98.   Decedent relied on DEFENDANTS’ representations, lack of warnings, and
26
           implied warranties of the fitness and safety of their asbestos-containing
27
28
           products and was injured as a result.


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1
     99.   DEFENDANTS’ breaches of duty under traditional maritime strict liability
2
           standards, as restated and summarized in Section 402A of the Restatement
3
4          Second) of Torts and described herein, proximately caused or contributed
5
           to cause Decedent’s asbestos cancer and injuries.
6
7    100. DEFENDANTS’ breaches of duty under traditional maritime strict liability
8          standards, as restated and summarized in Section 402A of the Restatement
9
           (Second) of Torts and described herein, were willful, wanton, and
10
11         undertaken with actual or constructive knowledge that injury would result,
12
           and/or were accomplished with such recklessness as to evince a conscious
13
14         and callous disregard for the health, safety, and rights of “exposed
15         persons,” including Decedent.
16
     101. As a direct and proximate result of the conduct of the DEFENDANTS, as
17
18         aforesaid, Decedent’s exposure to and inhalation of asbestos-containing
19
           dust, fibers and/or particles caused him to suffer permanent injuries,
20
21         including but not limited to, asbestos-related disease, lung damage, cancer

22         and ultimately death.
23
     102. As a direct and proximate result of the aforesaid conduct of the
24
25         DEFENDANTS, Plaintiffs have incurred expenses for               physicians,
26
           surgeons, nurses, hospital care, medicine, hospices, x-rays and other
27
28
           medical treatment.


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1
     103. The failure to warn by DEFENDANTS, and the product defect in the
2
             asbestos and asbestos-containing products of DEFENDANTS were
3
4            substantial factors and a legal cause of decedent’s injuries, death and
5
             damages thereby sustained by Plaintiffs, and that said DEFENDANTS
6
7            demonstrated such an entire want of care as to establish that their acts and
8            omissions were the result of actual conscious indifference to the rights,
9
             safety, and welfare of Decedent, and that such intentional acts and
10
11           omissions were substantial factors in causing his disease and injuries.
12
     104.     DEFENDANTS’ breaches of duty under traditional maritime negligence
13
14           standards, as described herein, were willful, wanton, and undertaken with
15           actual or constructive knowledge that serious injury would result, and/or
16
             were accomplished with such recklessness as to evince a conscious and
17
18           callous disregard for the health, safety, and rights of “exposed persons,”
19
             including Decedent. Plaintiffs, for the sake of example and by way of
20
21           punishing said ASBESTOS DEFENDANTS, seek punitive damages

22           according to proof.
23
     105. WHEREFORE,               Plaintiffs   pray     judgment       against   ASBESTOS
24
25           DEFENDANTS, and each of them, as hereafter set forth.
26
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1                      SEVENTH CAUSE OF ACTION - SURVIVAL ACTION
2
                            (ALL DEFENDANTS AND DOES 1-400)
3
4    106. Plaintiffs reallege and incorporate by reference herein each and every
5
              paragraph of this Complaint, and makes them a part of this, the Seventh
6
              Cause of Action, as though each were fully set forth herein.
7
8    107. As a proximate result of the conduct of DEFENDANTS, and each of them,
9
              Decedent was required to, and did, employ physicians and surgeons to
10
11            examine, treat and care for him and did incur medical and incidental
12            expenses in a sum to be subsequently determined.
13
              WHEREFORE, Plaintiffs pray judgment against DEFENDANTS, and each
14
15   of them, as hereafter set forth.
16
                                              DAMAGES
17
18            WHEREFORE, Plaintiffs pray judgment against Defendants, DOES 1-400,
19   their “alternate entities,” and each of them, inclusive, as follows:
20
              1.    For general damages, including pain and suffering, according to
21
22   proof;
23
              2.    For special damages according to proof;
24
25            3.    For medical and related expenses according to proof;

26            4.    For loss of income, earning capacity, earning potential according to
27
     proof;
28
              5.    For exemplary or punitive damages according to proof;
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           6.    For costs of suit herein;
2
           7.    For prejudgment interest on all damages as allowed by laws; and
3
4          8.    For such other and further relief as the Court deems just and proper.
5
     DATED: October 18, 2024                        GOLD LAW FIRM
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8
                                             By:                              _
9
                                                    ROGER E. GOLD
10                                                  Attorney for Plaintiffs
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